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                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and
    THOMAS BAKER,

                                   Plaintiffs,            Civil Action No. 3:17-cv-00072-NKM

    v.                                                         JURY TRIAL DEMANDED

    JASON KESSLER, et al.,

                                   Defendants.


               MOTION FOR PRO HAC VICE ADMISSION OF MATTEO GODI

          Pursuant to Rule 6(d) of the Local Rules for the United States District Court for the Western

   District of Virginia, I, Robert T. Cahill, an attorney admitted to practice in this Court, and counsel

   of record in the instant proceeding hereby move the Court for the admission of Matteo Godi,

   Esquire to appear pro hac vice on behalf of the Plaintiffs in the above captioned case and in support

   thereof state as follows:

          1.      Mr. Godi is an associate with the law firm of Paul, Weiss, Rifkind, Wharton &

   Garrison LLP, 2001 K Street, N.W., Washington, DC 20006-1047; Phone 202.223.7322; Email:

   mgodi@paulweiss.com

          2.      Mr. Godi is qualified and licensed to practice law and is a bar member in good

   standing in the District of Columbia (Bar ID No. 1618447 - Since 2019). He is also a member of

   the bar, in good standing, for the following federal courts: U.S. District Courts for the Northern

   District of New York and the District of Columbia and U.S. Courts of Appeals for the Second,

   Fourth, Fifth and D.C. Circuits.
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            3.     Mr. Godi agrees to submit and comply with the appropriate rules of procedure as

   required in the case for which he is applying to appear pro hac vice as well as the rules and

   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

            WHEREFORE, for the reasons stated above, it is requested that this Court grant this motion

   and permit Matteo Godi, Esq. to appear pro hac vice on behalf of Plaintiffs in the above captioned

   case, and to appear at hearings or trials in the absence of an associated member of the bar of this

   Court.



    Dated: October 11, 2021                             Respectfully submitted,

                                                        /s/ Robert T. Cahill
                                                        Robert T. Cahill (VSB 38562)
                                                        COOLEY LLP
                                                        11951 Freedom Drive, 14th Floor
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                                        CERTIFICATE OF SERVICE
           I hereby certify that on October 11, 2021, I filed the foregoing with the Clerk of Court through the CM/ECF
   system, which will send a notice of electronic filing to:

    Elmer Woodard                                              Bryan Jones
    5661 US Hwy 29                                             106 W. South St., Suite 211
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    isuecrooks@comcast.net                                     bryan@bjoneslegal.com

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    Justin Saunders Gravatt                                    Counsel for Matthew Heimbach, Matthew Parrott and
    David L. Hauck                                             Traditionalist Worker Party
    David L. Campbell
    Duane, Hauck, Davis & Gravatt, P.C.                        William Edward ReBrook, IV
    100 West Franklin Street, Suite 100                        The ReBrook Law Office
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    dcampbell@dhdglaw.com                                      rebrooklaw@gmail.com

    Counsel for Defendant James A. Fields, Jr.                 Counsel for Defendants Jeff Schoep, National Socialist
                                                               Movement, Nationalist Front, Matthew Heimbach,
                                                               Matthew Parrott and Traditionalist Worker Party


          I further hereby certify that on October 11, 2021, I also served the following non-ECF
   Defendants/participants, via electronic mail or First Class U.S. mail, as follows:

    Robert Ray                                                 Richard Spencer
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    VIA U.S. Mail                                              eli.r kline@gmail.com
    Christopher Cantwell
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                                                               /s/ David E. Mills
                                                               David E. Mills
                                                               Counsel for Plaintiffs




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